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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,

                       Plaintiffs,
                                               Case No. 1:18-cv-00950-LO-JFA
               v.

 COX COMMUNICATIONS, INC., et al.,

                       Defendants.

                    NOTICE OF WITHDRAWAL OF MOTION TO SEAL

       Defendants (“Cox”), through counsel, hereby withdraw their Motion to Seal (ECF No.

35) and accompanying papers (ECF Nos. 36-38), filed with this Court on October 15, 2018.



Dated: October 18, 2018

                                                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

I hereby certify that on October 18, 2018, the foregoing was filed and served electronically by
the Court’s CM/ECF system upon all registered users:


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